

Polanco v City of New York (2023 NY Slip Op 51431(U))



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Polanco v City of New York


2023 NY Slip Op 51431(U)


Decided on December 27, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on December 27, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



571110/23

Peter Polanco, Plaintiff-Appellant, 
againstThe City of New York, Defendant-Respondent.




Plaintiff appeals from an order of the Small Claims Part of the Civil Court of the City of New York, New York County (Aija Tingling, J.), entered June 5, 2023, which granted defendant's motion to dismiss this action pursuant to CPLR 3211(a)(7).




Per Curiam.
Order (Aija Tingling, J.), entered June 5, 2023, reversed, without costs, defendant's motion denied, and the action is reinstated.
Pretrial motions to dismiss for failure to state a cause of action should rarely, if ever, be entertained in Small Claims Court (see Friedman v Seward Park Hous. Corp., 167 Misc 2d 57 [App Term, 1st Dept 1995]; see also Rackowski v Araya, 152 AD3d 834, 836 [2017]) and no exception to the rule is warranted in this case. "The informality and convenience of small claims practice is necessarily frustrated by requiring pro se litigants to respond to formal motion practice under the CPLR prior to the hearing of their case" (Friedman v Seward Park Hous. Corp., 167 Misc 2d at 58). "Substantial justice" (CCA 1804) will best be rendered by a prompt trial, where defendant can assert its substantive arguments for dismissal (see Borisovski v Lamarre, 66 Misc 3d 138[A], 2020 NY Slip Op 50080[U] [App Term, 1st Dept 2020]).
In reinstating the action, we express no view as to its ultimate outcome on the merits.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: December 27, 2023









